Sheehan & Associates, P.C.
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(516) 303-0552

United States District Court
Eastern District of New York                                2:19-cv-02488-SJF-AKT
Kenneth Copeland, John Doe individually
and on behalf of all others similarly situated
                                Plaintiff

                  - against -                            Notice of Voluntary Dismissal

Post Consumer Brands, LLC
                                Defendants

       Plaintiff gives notice this action is voluntarily dismissed. Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: August 23, 2019
                                                                 Respectfully submitted,

                                                                 Sheehan & Associates, P.C.
                                                                 /s/Spencer Sheehan
                                                                 Spencer Sheehan
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                                                                 E.D.N.Y. # SS-8533
                                                                 S.D.N.Y. # SS-2056
2:19-cv-02488-SJF-AKT
United States District Court
Eastern District of New York

Kenneth Copeland, John Doe individually and on behalf of all others similarly situated

                                        Plaintiff


        - against -


Post Consumer Brands, LLC

                                        Defendants




                               Notice of Voluntary Dismissal


                                   Sheehan & Associates, P.C.
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                                  Great Neck, NY 11021
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Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: August 23, 2019
                                                                       /s/ Spencer Sheehan
                                                                        Spencer Sheehan
